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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


     ELIZABETH SINES, et al.,

                                 Plaintiffs,
     v.                                                       Civil Action No. 3: 17-cv-00072-NKM

     JASON KESSLER, et al.,

                                Defendants.

          MOTION FOR PRO HAC VICE ADMISSION OF RAYMOND P. TOLENTINO

          Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the

    Western District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court,

    and counsel of record in the instant proceeding, hereby moves the Court for the admission of

    Raymond P. Tolentino, Esq. to appear pro hac vice on behalf of the Plaintiffs in the above

    captioned case and in support thereof state as follows:

            1.      Mr. Tolentino is an attorney with Kaplan Hecker & Fink LLP, 350 Fifth

    Avenue, 63rd Floor, New York, NY 10118, Tel: (212) 763-0883, Email:

    rtolentino@kaplanhecker.com.

            2.      Mr. Tolentino is qualified and licensed to practice law and is a bar member in

    good standing in the State of New York (Registration No. 5162425 – Date of Admission: July

    16, 2016) and the District of Columbia (Registration No. 1028781 – Date of Admission:

    October 5, 2015). He is also a bar member in good standing with the United States District

    Court for the Eastern District of New York (Date of Admission: Jan. 23, 2015), the United

    States District Court for the Southern District of New York (Date of Admission: July 7, 2020),

    the United States District Court for the Western District of Michigan (Date of Admission: Jun.
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    10, 2020), the United States District Court for the District of Columbia (Date of Admission:

    December 7, 2020), as well as the United States Courts of Appeals for the Second, Third,

    Fourth. Fifth, Sixth, Seventh, Ninth, Eleventh, D.C., and Federal Circuits.

            3.      Mr. Tolentino agrees to submit to and comply with the appropriate rules of

    procedure as required in the case for which he is applying to appear pro hac vice as well as the

    rules and standards of professional conduct applicable to all lawyers admitted to practice before

    this Court.

            WHEREFORE, for the reasons stated above, it is requested that this Court grant this

    motion and permit Raymond P. Tolentino, Esq. to appear pro hac vice on behalf of Plaintiffs in

    the above captioned case, and to appear at hearings or trials in the absence of an associated

    member of the bar of this Court.


     Dated: October 7, 2021                       Respectfully submitted,

                                                  /s/ Robert T. Cahill
                                                  Robert T. Cahill (VSB 38562)
                                                  COOLEY LLP
                                                  11951 Freedom Drive, 14th Floor
                                                  Reston, VA 20190-5656
                                                  Telephone: (703) 456-8000
                                                  Fax: (703) 456-8100
                                                  Email: rcahill@cooley.com

                                                  Counsel for Plaintiffs




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                                          CERTIFICATE OF SERVICE
           I hereby certify that on October 7, 2021, I filed the foregoing with the Clerk of Court through the CM/ECF
    system, which will send a notice of electronic filing to:
    Justin Saunders Gravatt                                     James E. Kolenich
    David L. Hauck                                              Kolenich Law Office
    David L. Campbell                                           9435 Waterstone Blvd. #140
    Duane, Hauck, Davis & Gravatt, P.C.                         Cincinnati, OH 45249
    100 West Franklin Street, Suite 100                         jek318@gmail.com
    Richmond, VA 23220
    jgravatt@dhdglaw.com                                        Elmer Woodard
    dhauck@dhdglaw.com                                          5661 US Hwy 29
    dcampbell@dhdglaw.com                                       Blairs, VA 24527
                                                                isuecrooks@comcast net
    Counsel for Defendant James A. Fields, Jr.
                                                                Counsel for Defendants Jason Kessler, Nathan
    W. Edward ReBrook                                           Damigo, and Identity Europa, Inc. (Identity Evropa)
    The ReBrook Law Office
    6013 Clerkenwell Court                                      Joshua Smith Esq.
    Burke, VA 22015                                             Smith LLC
    edward@rebrooklaw.com                                       807 Crane Ave.
    rebrooklaw@gmail.com                                        Pittsburgh, PA 15216
                                                                joshsmith2020@gmail.com
    Counsel for Defendants National Socialist Movement,
    Nationalist Front, Jeff Schoep, Matthew Heimbach,           Counsel for Matthew Heimbach, Matthew Parrott and
    Matthew Parrott and Traditionalist Worker Party             Traditionalist Worker Party

    Bryan Jones
    106 W. South St., Suite 211
    Charlottesville, VA 22902
    bryan@bjoneslegal.com

    Counsel for Defendants Michael Hill,
    Michael Tubbs, and League of the South

           I further certify that on October 7, 2021, I also served the foregoing upon following non-ECF pro se
   defendants and participants, via electronic mail or First Class U.S. Mail, as follows:

    Richard Spencer                                             Elliott Kline
    richardbspencer@gmail.com                                   eli.f mosley@gmail.com
    richardbspencer@icloud.com                                  deplorabletruth@gmail.com
                                                                eli.r kline@gmail.com
    Robert Ray
    azzmador@gmail.com                                          VIA U.S. Mail (to be re-served upon knowledge of
                                                                Mr. Cantwell’s new Virginia location)
                                                                Christopher Cantwell
    Vanguard America                                            Inmate 00991-509
    c/o Dillon Hopper                                           USP Marion
    dillon_hopper@protonmail.com                                U.S. Penitentiary
                                                                P.O. Box 2000
                                                                Marion, IL 62959

                                                                /s/ Robert T. Cahill
                                                                Robert T. Cahill



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